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ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                             (Note: Identify Changes with Asterisks (*))
Sheet 1



                                  UNITED STATES DISTRICT COURT
                                                            Northern District of Illinois
 UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT IN A CRIMINAL CASE
           v.
 ROBERT S. WAKSMUNDZKI                                                      Case Number:      1:19-CR-00573(1)
                                                                            USM Number:       54201-424
 Date of Original Judgment: 12/20/2019
                                                                            Steven Richard Hunter
 (Or Date of Last Amended Judgment)
                                                                            Defendant’s Attorney
 Reason for Amendment:
 ☐ Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))          ☐ Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
 ☐ Reduction of Sentence for Changed Circumstances (Fed. R. Crim.               3583(e))
     P. 35(b))                                                              ☒ Modification of Imposed Term of Imprisonment for Extraordinary
 ☐ Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))          and Compelling Reasons (18 U.S.C. § 3582(c)(1))
 ☐ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)        ☐   Modification of Imposed Term of Imprisonment for Retroactive
                                                                                Amendment(s) to the Sentencing Guidelines (18 U.S.C. §
 ☐ Modification of Imposed Term of Imprisonment Pursuant to Section             3582(c)(2))
     404 of the First Step Act
                                                                            ☐   Direct Motion to District Court Pursuant ☐ 28 U.S.C. § 2255
                                                                              or ☐ 18 U.S.C. § 3559(c)(7)
                                                                            ☐ Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
  ☒ pleaded guilty to count(s) Counts One and Two of the Information.
  ☐ pleaded nolo contendere to count(s)         which was accepted by the court.
  ☐ was found guilty on count(s)        after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                Offense Ended                   Count
 18:371.F Conspiracy To Defraud The United States                                                   06/04/2015                      1
 26:7206A.F Fraud and False Statements                                                              06/04/2015                      2




The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984. Other than the amendments or modifications stated in this judgment, the judgment previously entered shall stand. (See
attachments)
  ☐ The defendant has been found not guilty on count(s)
  ☐ Count(s) dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                   June 25, 2020
                                                                                   Date of Imposition of Judgment




                                                                                   _____________________________________________
                                                                                   Signature of Judge

                                                                                   Edmond E. Chang , United States District Judge
                                                                                   Name and Title of Judge

                                                                                   June 25, 2020
                                                                                   Date
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ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                            (Note: Identify Changes with Asterisks (*))
Sheet 2 – Imprisonment                                                                                                        Judgment – Page 2 of 4
DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER: 1:19-CR-00573(1)
                                                                  IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
* Time served as to Count 1; Time served as to Count 2

*☐       The court makes the following recommendations to the Bureau of Prisons:

  ☐      The defendant is remanded to the custody of the United States Marshal.

  ☐      The defendant shall surrender to the United States Marshal for this district:

            ☐      at         on

       ☐      as notified by the United States Marshal.

     *☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         *☐ before 2:00 pm on

            ☐      as notified by the United States Marshal.

            ☐      as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

I have executed this judgment as follows: _____________________________________________________________________________
_______________________________________________________________________________________________________________
_______________________________________________________________________________________________________________

Defendant delivered on ___________ to ________________________ at_____________________________, with a certified copy of this
judgment.


                                                                                   __________________________________________
                                                                                   UNITED STATES MARSHAL


                                                                               By ___________________________________________
                                                                                  DEPUTY UNITED STATES MARSHAL
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ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                              (Note: Identify Changes with Asterisks (*))
Sheet 6 – Schedule of Payments                                                                                                  Judgment – Page 3 of 4
DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER: 1:19-CR-00573(1)


        MANDATORY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3583(d)

Upon release from imprisonment, you shall be on supervised release for a term of:
*One (1) year.

           The court imposes those conditions identified by checkmarks below:


During the period of supervised release:
 *    ☒ (1) you shall not commit another Federal, State, or local crime.
 *    ☒ (2) you shall not unlawfully possess a controlled substance.
      ☐ (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court,
                if an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
                domestic violence crime, as defined in § 3561(b).]
      ☐     (4) you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
                16913).
 *    ☒ (5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
      ☐ (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within 15 days of release on
                supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use of a controlled substance during
                each year of supervised release. [This mandatory condition may be ameliorated or suspended by the court for any
                defendant if reliable sentencing information indicates a low risk of future substance abuse by the defendant.]

 DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3563(b) AND
                                18 U.S.C § 3583(d)
Discretionary Conditions — The court orders that you abide by the following conditions during the term of supervised release because such
conditions are reasonably related to the factors set forth in § 3553(a)(1) and (a)(2)(B), (C), and (D); such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in § 3553 (a)(2) (B), (C), and (D); and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:

During the period of supervised release:
      ☐ (1) you shall provide financial support to any dependents if you are financially able to do so.
 *    ☒ (2) you shall make restitution to a victim of the offense under § 3556 (but not subject to the limitation of § 3663(a) or
                   § 3663A(c)(1)(A)).
      ☐     (3)     you shall give to the victims of the offense notice pursuant to the provisions of § 3555, as follows:
      ☐ (4) you shall seek, and work conscientiously at, lawful employment or, if you are not gainfully employed, you shall pursue
                   conscientiously a course of study or vocational training that will equip you for employment.
      ☐ (5) you shall refrain from engaging in the following occupation, business, or profession bearing a reasonably direct
            relationship
                   to the conduct constituting the offense, or engage in the following specified occupation, business, or profession only to a
                   stated degree or under stated circumstances; (if checked yes, please indicate restriction(s))        .
      ☐     (6)    you  shall not knowingly   meet or communicate   with any person  whom   you   know to be engaged, or  planning
                   to be engaged, in criminal activity and shall not:
                     ☐ visit the following type of places:         .
                     ☐ knowingly meet or communicate with the following persons:                .
      ☐ (7) you shall refrain from ☐ any or ☐ excessive use of alcohol (defined as ☐ having a blood alcohol concentration
                  greater than 0.08; or ☐         ), and from any use of a narcotic drug or other controlled substance, as defined in § 102
                  of the Controlled Substances Act (21 U.S.C. § 802), without a prescription by a licensed medical practitioner.
 *    ☒ (8) you shall not possess a firearm, destructive device, or other dangerous weapon.
      ☐ (9)          ☐ you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                           include urine testing up to a maximum of 104 tests per year.
                     ☐ you shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take
                          any medications prescribed by the mental health treatment provider.
                     ☐ you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specify:
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ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                              (Note: Identify Changes with Asterisks (*))
Sheet 6 – Schedule of Payments                                                                                                  Judgment – Page 4 of 4
DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER: 1:19-CR-00573(1)
                                  .)
       ☐      (10)    (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                      intervals of time, totaling        [no more than the lesser of one year or the term of imprisonment authorized for the
                      offense], during the first year of the term of supervised release (provided, however, that a condition set forth in
                      §3563(b)(10) shall be imposed only for a violation of a condition of supervised release in accordance with § 3583(e)(2)
                      and only when facilities are available) for the following period          .
       ☐      (11)    (community confinement): you shall reside at, or participate in the program of a community corrections facility
                      (including a facility maintained or under contract to the Bureau of Prisons) for all or part of the term of supervised
                      release, for a period of        months.
       ☐      (12)    you shall work in community service for           hours as directed by a probation officer.
       ☐      (13)    you shall reside in the following place or area:       , or refrain from residing in a specified place or area:     .
 *     ☒      (14)    you shall not knowingly leave from the federal judicial district where you are being supervised, unless
                      granted permission to leave by the court or a probation officer. The geographic area of the Northern District
              of
                      Illinois currently consists of the Illinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle,
              Will,
                      Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago.
 *     ☒      (15) you shall report to the probation office in the federal judicial district to which you are released within 72 hours of your
                     release from imprisonment. You shall thereafter report to a probation officer at reasonable times as directed by the court
                     or a probation officer.
 *     ☒      (16) ☐          you shall permit a probation officer to visit you ☒ at any reasonable time or ☐ as specified:              ,
                              ☒ at home                  ☐ at work                    ☐ at school                 ☐ at a community service
                       location ☒ other reasonable location specified by a probation officer. If Defendant objects to the proposed location,
                       he may file an objection with the Court within seven days of being notified of the location.
                         ☐ you shall permit confiscation of any contraband observed in plain view of the probation officer.
 *     ☒      (17) you shall notify a probation officer within 72 hours, after becoming aware of any change in residence, employer, or
                     workplace and, absent constitutional or other legal privilege, answer inquiries by a probation officer. You shall answer
                     truthfully any inquiries by a probation officer, subject to any constitutional or other legal privilege.
 *     ☒      (18) you shall notify a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
                     enforcement officer.
       ☐      (19) (home confinement)
                     ☐       (a)(i) (home incarceration) for a period of __ months, you are restricted to your residence at all times except for
                             medical necessities and court appearances or other activities specifically approved by the court.
                     ☐       (a)(ii) (home detention) for a period of __ months, you are restricted to your residence at all times except for
                             employment; education; religious services; medical, substance abuse, or mental health treatment; attorney visits;
                             court appearances; court-ordered obligations; or other activities pre-approved by the probation officer.
                     ☐       (a)(iii) (curfew) for a period of __ months, you are restricted to your residence every day.
                     ☐       from the times directed by the probation officer; or ☐ from __ to __.
                     ☐       (b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be
                             monitored by a form of location monitoring technology selected at the discretion of the probation officer, and you
                             shall abide              by all technology requirements.
                     ☐       (c) you shall pay all or part of the cost of the location monitoring, at the daily contractual rate, if you are
                             financially able to do so.
       ☐      (20) you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State,
              the
                      District of Columbia, or any other possession or territory of the United States, requiring payments by you for the support
                      and maintenance of a child or of a child and the parent with whom the child is living.
 *     ☒      (21) (deportation): If ordered removed, you shall be surrendered to a duly authorized official of the Homeland Security
              Department for a determination on the issue of deportability by the appropriate authority in accordance with the laws under the
              Immigration and Nationality Act and the established implementing regulations. If ordered deported, you shall not remain in or
              enter the United States without obtaining, in advance, the express written consent of the United States Attorney General or the
              United States Secretary of the Department of Homeland Security.
       ☐      (22) you shall satisfy such other special conditions as ordered below.
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